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                   IN THE UNITED STATES DISTRICT COURT FO)^JHE
                             EASTERN DISTRICT OF VIRGINIA
                                                                                JUN 2 6 ZOIB
                                       Alexandria Division
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                                                                               ALlX/-,     ■
IN THE MATTER OF THE SEARCH OF                 )
THE PREMISES LOCATED AT 370                    )     Case No: 1:17-SW-294
HOLLAND LANE,UNIT 3013                         )
ALEXANDRIA,VIRGINIA 22314                      )

                         GOVERNMENT'S MOTION TO UNSEAL
                     REDACTED VERSION OF SEARCH WARRANT


       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully moves the Court for an Order to unseal a redacted version ofthe application for

search warrant, affidavit in support ofthe search warrant, search warrant, and related materials

("Warrant")in the above captioned matter. A copy ofthe proposed redacted Warrant to be

unsealed is attached hereto as Exhibit A.


       On February 22,2018, a grand jury sitting in the Eastern District of Virginia returned an

indictment against Paul J. Manafort, Jr. and Richard W. Gates III, who were subjects ofthe

investigation giving rise to the Warrant. The Indictment charges Manafort with subscribing to

false income tax returns, in violation of26 U.S.C. § 7206(1)(Counts 1-5); failing to file reports

offoreign bank accounts, in violation of 31 U.S.C. §§ 5314,5322(a)(Counts 11-14); and bank

fraud conspiracy and bank fraud,in violation of 18 U.S.C. §§ 1344,1349(Counts 24-32).

       On November 8, 2017, at the government's request this Court unsealed the Warrant for

the limited purpose of disclosing the material to defense counsel to comply with the

government's discovery obligations. The government subsequently provided defense counsel

with a redacted version ofthe Warrant. In all other respects, the Warrant remains sealed until

further order from this Court.


       On April 30, 2018, Manafort moved the Court to suppress evidence and all fruits thereof

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resulting from the Warrant in United States v. Manafort^ l:18-CR-83(E.D. Va.)(Doc. No. 45).

Defendant's motion to suppress is currently set for a hearing on Friday, June 29,2018. The

government anticipates the Warrant may be offered as an exhibit during the hearing.

         Accordingly, the government now requests that the Court unseal the Warrant with

appropriate redactions. Redactions to the Warrant are appropriate because it contains

information about non-public ongoing investigation, sensitive law enforcement information, and

personal identifying information related to uncharged individuals. Cf, U.S. Attorney's Manual §

1-7.400(B)(stating Department of Justice policy against commenting on an ongoing

investigation "before charges are publicly filed"); Fed. R. Grim. P. 49.1 (requiring redaction of

certain personaly identifying information). Unsealing a redacted version of the Warrant is an

appropriate way to balance the government's interest in making a fulsome response to

Manafort's motion to suppress and the public interest in access to court documents.

        Thus,the government asks this Court to imseal the redacted Warrant attached as Exhibit

A.


                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER,III
                                                     Special Counsel


Dated: June 22, 2018
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